                    shall not modify said contracts without the prior written approval of the State; said
                    approval shall not be unreasonably withheld. Said contracts shall include a provision
                    requiring the subcontractor to provide the Commissioner with a copy of its previous
                    fiscal year's audited annual financial statements on or before April 1 of each year during
                    the term of this contract. Trousdale County shall not enter into any other subcontract or
                    modification, for operation and management of the prison without obtaining the prior
                    written approval of the State. Trousdale County agrees to place in its subcontracts, a
                    provision allowing the State of Tennessee access to the Facility, Inmates, personnel and
                    records regarding the performance of any contractor or subcontractor for monitoring
                    purposes. Any such provision shall include, but not be limited to, the same access as
                    provided in A.3.b.5. above.

            b.      All subcontracts shall contain, at a minimum, sections of this contract below pertaining to
                    "Conflicts of Interest," "Non-discrimination," "Records," "No Violation of Contract Articles
                    of Incorporation or Bylaws," "No Defaults under Agreements," "Change in Owners,"
                    Research Projects," and "Financial Termination" as identified by the section headings.

            c.      Trousdale County shall provide that its contracts with its prime contractor referenced in
                    subsection (a) and their successors and assigns, and any future contract for the
                    management of the facility, include the following provision:

                    Hold Harmless. The parties acknowledge and agree that the State of Tennessee is a
                    third-party beneficiary under this Contract because the Contractor will be performing
                    services that will benefit the State of Tennessee and on which the State of Tennessee is
                    relying pursuant to its separate contract with Trousdale County. The Contractor agrees
                    to indemnify and hold harmless the State of Tennessee as well as its officers, agents,
                    and employees from and against any and all claims, liabilities, losses, and causes of
                    action, including reasonable attorney fees, which may arise, accrue, or result to any
                    person, firm, corporation, or other entity which may be injured or damaged as a result of
                    acts, omissions, bad faith, negligence, or willful misconduct on the part of the
                    Contractor, its employees, or any person acting for or on its or their behalf relating to this
                    Contract. The Contractor further agrees it shall be liable for the reasonable cost of
                    attorneys for the State in the event such service is necessitated to enforce the terms of
                    this Contract or otherwise enforce the obligations of the Contractor to the State.

                    In the event of any such suit or claim, the Contractor shall give Trousdale County and
                    the State immediate notice thereof and shall provide all assistance required by the State
                    in the State's defense. The State shall give the Contractor written notice of any such
                    claim or suit, and the Contractor shall have full right and obligation to conduct the
                    Contractor's own defense thereof. Nothing contained herein shall be deemed to accord
                    to the Contractor, through its attomey(s), the right to represent the State of Tennessee
                    in any legal matter, such rights being governed by Tennessee Code Annotated, Section
                    8-6-106.

     0.6.   Conflicts of Interest. The Contractor warrants that no part of the total Contract Amount shall be
            paid directly or indirectly to an employee or official of the State of Tennessee as wages,
            compensation, or gifts In exchange for acting as an officer, agent, employee, subcontractor, or
            consultant to the Contractor in connection with any work contemplated or performed relative to
            this Contract.

     0.7.   Nondiscrimination. The Contractor hereby agrees, warrants, and assures that no person shall be
            excluded from participation in, be denied benefits of or be otherwise subjected to discrimination
            in the performance of this Contract or in the employment practices of the Contractor on the
            grounds of handicap or disability, age, race, color, religion, sex, national origin, or any other
            classification protected by Federal, Tennessee State constitutional, or statutory law. The
            Contractor shall, upon request, show proof of such nondiscrimination and shall post in
            conspicuous places, available to all employees and applicants, notices of nondiscrimination.


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                                                               CCI 000969
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     0.8.     Prohibition of Illegal Immigrants. The requirements of Tennessee Code Annotated, Section 12·3·
              309, et seq., addressing the use of illegal immigrants in the performance of any Contract to
              supply goods or services to the state of Tennessee, shall be a material provision of this
              Contract, a breach of which shall be grounds for monetary and other penalties, up to and
              including termination of this Contract.

              a.      The Contractor hereby attests, certifies, warrants, and assures that the Contractor shall
                      not knowingly utilize the services of an illegal immigrant in the performance of this
                      Contract and shall not knowingly utilize the services of any subcontractor who will utilize
                      the services of an illegal immigrant in the performance of this Contract. The Contractor
                      shall reaffirm this attestation, in writing, by submitting to the State a completed and
                      signed copy of the document at Appendix F, hereto, semi-annually during the period of
                      this Contract. Such attestations shall be maintained by the Contractor and made
                      available to state officials upon request.

              b.      Prior to the use of any subcontractor in the performance of this Contract, and semi-
                      annually thereafter, during the period of this Contract, the Contractor shall obtain and
                      retain a current, written attestation that the subcontractor shall not knowingly utilize the
                      services of an illegal immigrant to perform work relative to this Contract and shall not
                      knowingly utilize the services of any subcontractor who will utilize the services of an
                      illegal immigrant to perform work relative to this Contract. Attestations obtained from
                      such subcontractors shall be maintained by the Contractor and made available to state
                      officials upon request.

              c.      The Contractor shall maintain records for all personnel used in the performance of this
                      Contract. Said records shall be subject to review and random inspection at any
                      reasonable time upon reasonable notice by the State.

              d.      The Contractor understands and agrees that failure to comply with this section will be
                      subject to the sanctions of Tennessee Code Annotated, Section 12-3-309, et seq. for
                      acts or omissions occurring after its effective date. This law requires the Chief
                      Procurement Officer to prohibit a contractor from contracting with, or submitting an offer,
                      proposal, or bid to contract with the State of Tennessee to supply goods or services for
                      a period of one year after a contractor is discovered to have knowingly used the services
                      of illegal immigrants during the performance of this Contract.

              e.      For purposes of this Contract, "illegal immigrant" shall be defined as any person who is
                      not either a United States citizen, a Lawful Permanent Resident, or a person whose
                      physical presence in the United States is authorized or allowed by the federal
                      Department of Homeland Security and who, under federal immigration laws and/or
                      regulations, is authorized to be employed in the U.S. or is otherwise authorized to
                      provide services under the Contract.

     0 .9.    Records. The Contractor shall maintain documentation for all charges under this Contract. The
              books, records, and documents of the Contractor, insofar as they relate to work performed or
              money received under this Contract, shall be maintained for a period of three (3) full years from
              the date of the final payment and shall be subject to audit at any reasonable time and upon
              reasonable notice by the State, the Comptroller of the Treasury, or their duly appointed
              representatives. The financial statements shall be prepared in accordance with generally
              accepted accounting principles.

     0.1 o.   Prevailing Wage Rates. All contracts for construction, erection, or demolition or to Install goods
              or materials that involve the expenditure of any funds derived from the State require compliance
              with the prevailing wage laws as provided in Tennessee Code Annotated, Section 12-4-401, et
              seq.

     0 .11.   Monitoring. The Contractor's activities conducted and records maintained pursuant to this
              Contract shall be subject to monitoring and evaluation by the State, the Comptroller of the
              Treasury, or their duly appointed representatives.
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                                                               CCI 000970
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     D.12.    Progress Reports. The Contractor shall submit brief, periodic, progress reports to the State as
              requested.

     D.13.    Strict Performance. Failure by any party to this Contract to insist in any one or more cases upon
              the strict performance of any of the terms, covenants, conditions, or provisions of this Contract
              shall not be construed as a waiver or relinquishment of any such term, covenant, condition, or
              provision. No term or condition of this Contract shall be held to be waived, modified, or deleted
              except by a written amendment signed by the parties hereto.

     D.14.    Independent Contractor. The parties hereto, in the performance of this Contract, shall not act as
              employees, partners, joint ventures, or associates of one another. It is expressly acknowledged
              by the parties hereto that such parties are independent contracting entitles and that nothing In
              this Contract shall be construed to create an employer/employee relationship or to allow either to
              exercise control or direction over the manner or method by which the other transacts its
              business affairs or provides its usual services. The employees or agents of one party shall not
              be deemed or construed to be the employees or agents of the other party for any purpose
              whatsoever.

              The Contractor, being a Tennessee governmental entity, is governed by the provisions of the
              Tennessee Government Tort Liability Act, Tennessee Code Annotated, Sections 29-20-101 et
              seq., for cause of action sounding in tort. Further no contract provision requiring a Tennessee
              political entity to indemnify or hold harmless the State beyond the liability imposed by law is
              unenforceable because it appropriates public money and nullifies governmental immunity
              without the authorization of the General Assembly.

     D.15.    State Liability. The State shall have no liability except as specifically provided in this Contract.

     D.16.    Force Majeure. The obligations of the parties to this Contract are subject to prevention by
              causes beyond the parties' control that could not be avoided by the exercise of due care
              including, but not limited to, natural disasters, riots, wars, epidemics, or any other similar cause.

     0.17.    State and Federal Compliance. The Contractor shall comply with all applicable State and
              Federal laws and regulations in the performance of this Contract.

     D.18.    Governing Law. This Contract shall be governed by and construed in accordance with the laws
              of the State of Tennessee. The Contractor agrees that it will be subject to the exclusive
              jurisdiction of the courts of the State of Tennessee in actions that may arise under this Contract.
              The Contractor acknowledges and agrees that any rights or claims against the State of
              Tennessee or its employees hereunder, and any remedies arising therefrom, shall be subject to
              and limited to those rights and remedies, if any, available under Tennessee Code Annotated,
              Sections 9-8-101 through 9-8-407.

     D. 19.   Completeness. This Contract is complete and contains the entire understanding between the
              parties relating to the subject matter contained herein, including all the terms and conditions of
              the parties' agreement. This Contract supersedes any and all prior understandings,
              representations, negotiations, and agreements between the parties relating hereto, whether
              written or oral.

     D.20.    Severability. If any terms and conditions of this Contract are held to be invalid or unenforceable
              as a matter of law, the other terms and conditions hereof shall not be affected thereby and shall
              remain in full force and effect. To this end, the terms and conditions of this Contract are declared
              severable.

     D.21 .   Headings. Section headings of this Contract are for reference purposes only and shall not be
              construed as part of this Contract.

     E.       SPECIAL TERMS AND CONDITIONS:

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                                                               CCI 000971
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     E.1 .   Conflicting Terms and Conditions. Should any of these special terms and conditions conflict with
             any other terms and conditions of this Contract, these special terms and conditions shall control.

     E.2.    Communications and Contacts. All instructions, notices, consents, demands, or other
             communications required or contemplated by this Contract shall be in writing and shall be made
             by certified, first class mail, return receipt requested and postage prepaid, by overnight courier
             service with an asset tracking system, or by EMAIL or facsimile transmission with recipient
             confirmation . Any such communications, regardless of method of transmission, shall be
             addressed to the respective party at the appropriate mailing address, facsimile number, or
             EMAIL address as set forth below or to that of such other party or address, as may be hereafter
             specified by written notice.

             The State:

             DERRICK D. SCHOFIELD, COMMISSIONER
             TENNESSEE DEPARTMENT OF CORRECTION
             6TH FLOOR RACHEL JACKSON BUILDING
             Derrick. Schofield@tn.gov
             Telephone#615.741.1000 Ext. 8139
             FAX# 615.532.8281

             The Contractor:

             TROUSDALE COUNTY:

             BETTY LOU TAYLOR
             TAYLOR, DONOHO, TAYLOR & TAYLOR
             204 Court Street
             P.O. Box 179
             Hartsville, TN 37074
             paula@dttlawfirm.com
             Telephone# 615-374-3004
             FAX #615-374-2267

             All instructions, notices, consents, demands, or other communications shall be considered
             effectively given upon receipt or recipient confirmation as may be required.

     E.3.    Subject to Funds Availability. The Contract is subject to the appropriation and availability of State
             and/or Federal funds. The State will include in its budget request to the Legislature for each
             Fiscal year the payments to become due thereunder in such Fiscal Year and will use all
             reasonable and lawful means at its disposal to secure the appropriation of money for such Fiscal
             Year sufficient to pay the payments thereunder coming due therein. The Department reasonably
             believes that monies in an amount sufficient to make all payments due thereunder can and will
             lawfully be appropriated and made available for this purpose. In the event that the funds are not
             appropriated or are otherwise unavailable, the State reserves the right to terminate the Contract
             upon written notice to the Contractor. Said termination shall not be deemed a breach of Contract
             by the State. Upon receipt of the written notice, the Contractor shall cease all work associated
             with the Contract. Should such an event occur, the Contractor shall be entitled to compensation
             for all satisfactory and authorized services completed as of the termination date. Upon such
             termination, the Contractor shall have no right to recover from the State any actual, general,
             special, incidental, consequential, or any other damages whatsoev~r of any description or
             amount.

     E.4.    Confidentiality of Records. Strict standards of confidentiality of records and information shall be
             maintained In accordance with applicable state and federal law. All material and information,
             regardless of form, medium or method of communication, provided to the Contractor by the
             State or acquired by the Contractor on behalf of the State shall be regarded as confidential
             information in accordance with the provisions of applicable state and federal law, state and
             federal rules and regulations, departmental policy, and ethical standards. Such confidential
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                                                               CCI 000972
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            information shall not be disclosed, and all necessary steps shall be taken by the Contractor to
            safeguard the confidentiality of such material or information in conformance with applicable state
            and federal law, state and federal rules and regulations, departmental policy, and ethical
            standards.

            The Contractor's obligations under this section do not apply to information in the public domain;
            entering the public domain but not from a breach by the Contractor of this Contract; previously
            possessed by the Contractor without written obligations to the State to protect it; acquired by the
            Contractor without written restrictions against disclosure from a third party which, to the
            Contractor's knowledge, is free to disclose the information; independently developed by the
            Contractor without the use of the State's information; or, disclosed by the State to others without
            restrictions against disclosure. Nothing in this paragraph shall permit Contractor to disclose any
            information that is confidential under federal or state law or regulations, regardless of whether it
            has been disclosed or made available to the Contractor due to intentional or negligent actions or
            inactions of agents of the State or third parties.

            It is expressly understood and agreed the obligations set forth in this section shall survive the
            termination of this Contract.


     E.5.   Printing Authorization. The Contractor agrees that no publication coming within the jurisdiction of
            Tennessee Code Annotated, Section 12-7-101, et. seq., shall be printed pursuant to this contract
            unless a printing authorization number has been obtained and affixed as required by Tennessee
            Code Annotated, Section 12-7-103 (d).

     E.6.   State Ownership of Work Products. The State shall have ownership, right, title, and interest,
            including ownership of copyright, in all work products, including computer source code, created,
            designed, developed, derived, documented, installed, or delivered under this Contract subject to
            the next subsection and full and final payment for each "Work Product." The State shall have
            royalty-free and unlimited rights and license to use, disclose, reproduce, publish, distribute,
            modify, maintain, or create derivative works from, for any purpose whatsoever, all said Work
            Products.

            a.      To the extent that the Contractor uses any of its pre-existing, proprietary or
                    independently developed tools, materials or Information ("Contractor Materials"), the
                    Contractor shall retain all right, title and interest in and to such Contractor Materials, and
                    the State shall acquire no right, title or interest in or to such Contractor Materials
                    EXCEPT the Contractor grants to the State an unlimited, non-transferable license to
                    use, copy and distribute internally, solely for the State's internal purposes, any
                    Contractor Materials reasonably associated with any Work Product provided under the
                    Contract.


            b.      The Contractor shall furnish such information and data as the State may request,
                    including but not limited to computer code, that is applicable, essential, fundamental, or
                    intrinsic to any Work Product and Contractor Materials reasonably associated with any
                    Work Product, in accordance with this Contract and applicable state law.

            c.      Nothing in this Contract shall prohibit the Contractor's use for its own purposes of the
                    general knowledge, skills, experience, ideas, concepts, know-how, and techniques
                    obtained and used during the course of providing the services requested under this
                    Contract.

            d.      Nothing in the Contract shall prohibit the Contractor from developing for itself, or for
                    others, materials which are similar to and/or competitive with those that are produced
                    under this Contract.



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                                                               CCI 000973
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     E.7.     State Furnished Prooerty. The Contractor shall be responsible for the correct use, maintenance,
              and protection of all articles of nonexpendable, tangible, personal property furnished by the
              State for the Contractor's temporary use under this Contract. Upon termination of this Contract,
              all property furnished shall be returned to the State in good order and condition as when
              received, reasonable use and wear thereof excepted. Should the property be destroyed, lost, or
              stolen, the Contractor shall be responsible to the State for the residual value of the property at
              the time of loss.

     E.8.     Prohibited Advertising. The Contractor shall not refer to this Contract or the Contractor's
              relationship with the State hereunder in commercial advertising in such a manner as to state or
              imply that the Contractor or the Contractor's services are endorsed. It is expressly understood
              and agreed that the obligations set forth in this section shall survive the termination of this
              Contract in perpetuity.

     E.9.     Public Accountability. If the Contractor Is subject to Tennessee Code Annotated, Title 8, Chapter
              4, Part 4 or If this Contract Involves the provision of services to citizens by the Contractor on
              behalf of the State, the Contractor agrees to establish a system through which recipients of
              services may present grievances about the operation of the service program, and the Contractor
              shall display in a prominent place, located near the passageway through which the public enters
              in order to receive services pursuant to this Contract, a sign at least twelve inches (12") in height
              and eighteen Inches (18~) in width stating:

              NOTICE: THIS AGENCY IS A RECIPIENT OF TAXPAYER FUNDING. IF YOU OBSERVE AN
              AGENCY DIRECTOR OR EMPLOYEE ENGAGING IN ANY ACTIVITY WHICH YOU
              CONSIDER TO BE ILLEGAL, IMPROPER, OR WASTEFUL, PLEASE CALL THE STATE
              COMPTROLLER'S TOLL-FREE HOTLINE: 1-800-232-5454

     E.1 0.
                                       •
              Environmental Tobacco Smoke. Pursuant to the provisions of the federal "Pro-Children Act of
              1994" and the Tennessee "Children's Act for Clean Indoor Air of 1995," the Contractor shall
              prohibit smoking of tobacco products within any indoor premises in which services are provided
              pursuant to this Contract to individuals under the age of eighteen (18) years. The Contractor
              shall post "no smoking" signs in appropriate, permanent sites within such premises. This
              prohibition shall be applicable during all hours, not just the hours in which children are present.
              Violators of the prohibition may be subject to civil penalties and fines. This prohibition shall apply
              to and be made part of any subcontract related to this Contract.

     E.11.    Lobbying. The Contractor certifies, to the best of its knowledge and belief, that:

              a.      No federally appropriated funds have been paid or will be paid, by or on behalf of the
                      undersigned, to any person for Influencing or attempting to Influence an officer or
                      employee of an agency, a Member of Congress, an officer or employee of Congress, or
                      an employee of a Member of Congress in connection with the awarding of any Federal
                      contract, the making of any Federal grant. the making of any federal loan, the entering
                      into of any cooperative agreement, and the extension, continuation, renewal,
                      amendment, or modification of any federal contract, grant, loan, or cooperative
                      agreement.

              b.      If any funds other than federally appropriated funds have been paid or will be paid to any
                      person for influencing or attempting to influence an officer or employee of any agency, a
                      Member of Congress, an officer or employee of Congress, or an employee of a Member
                      of Congress in connection with this contract, grant, loan, or cooperative agreement, the
                      Contractor shall complete and submit Standard Form-LLL, "Disclosure Form to Report
                      Lobbying," in accordance with its instructions.

              c.      The Contractor shall require that the language of this certification be included in the
                      award documents for all sub-awards at all tiers (including subcontracts, sub-grants, and
                      contracts under grants, loans, and cooperative agreements) and that all sub-recipients
                      shall certify and disclose accordingly.

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                                                               CCI 000974
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                      This certification is a material representation of fact upon which reliance was placed
                      when this transaction was made or entered into and is a prerequisite for making or
                      enteri11g Into this transaction imposed by section 1352, title 31, U.S. Code.

     E.12.    Debarment and Suspension. The Contractor certifies, to the best of its knowledge and belief,
              that it, its current and future principals, its current and future subcontractors and their principals:

              a.      are not presently debarred, suspended, proposed for debarment, declared ineligible, or
                      voluntarily excluded from covered transactions by any federal or state department or
                      agency;

              b.      have not within a three (3) year period preceding this Contract been convicted of, or had
                      a civil judgment rendered against them from commission of fraud, or a criminal offense
                      in connection with obtaining, attempting to obtain, or performillg a public (federal, state,
                      or local) transaction or grant under a public transaction; violation of federal or state
                      antitrust statutes or commission of embezzlement, theft, forgery, bribery, falsification, or
                      destruction of records, making false statements, or receiving stolen property;

              c.      are not presently indicted or otherwise criminally or civilly charged by a government
                      entity (federal, state, or local) with commission of any of the offenses detailed in section
                      b. of this certification; and

              d.      have not within a three (3) year period preceding this Contract had one or more public
                      transactions (federal, state, or local) terminated for cause or default.

                      The Contractor shall provide immediate written notice to the State if at any time it learns
                      that there was an earlier failure to disclose information or that due to changed
                      circumstances, its principals or the principals of its subcontractors are excluded or
                      disqualified.


     E.13.    Copyrights and Patents. The Contractor agrees to indemnify and hold harmless the State of
              Tennessee as well as its officers, agents, and employees from and against any and all claims or
              suits which may be brought against the State for infringement of any laws regarding patents or
              copyrights which may arise from the Contractor's performance of this Contract. In any such
              action brought against the State, the Contractor shall satisfy and indemnify the State for the
              amount of any final judgment for infringement. The Contractor further agrees it shall be liable for
              the reasonable fees of attorneys for the State In the event such service is necessitated to
              enforce the terms of this Contract or otherwise enforce the obligations of the Contractor to the
              State. The State shall give the Contractor written notice of any such claim or suit and full right
              and opportunity to conduct the Contractor's own defense thereof.


     E.1 4.   Breach. A party shall be deemed to have breached the Contract if any of the following occurs:

                      -failure to perform in accordance with any term or provision of the Contract;
                      - partial performance of any term or provision of the Contract;
                      - any act prohibited or restricted by the Contract, or
                      -violation of any warranty.

              For purposes of this Contract, these Items shall hereinafter be referred to as a "Breach."

              a.      Contractor Breach -The State shall notify Contractor in writing of a Breach.

                      (1)      In event of a Breach by Contractor, the State shall have available the remedy of
                               Actual Damages and any other remedy available at law or equity.

                      (2)      Liquidated Damages - In the event of a Breach, the State may assess
                               Liquidated Damages. The State shall notify the Contractor of amounts to be
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                                                               CCI 000975
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                     assessed as Liquidated Damages. The parties agree that due to the
                     complicated nature of the Contractor's obligations under this Contract it would
                     be difficult to specifically designate a monetary amount for a Breach by
                     Contractor as said amounts are likely to be uncertain and not easily proven.
                     Contractor hereby represents and covenants it has carefully reviewed the
                     Liquidated Damages contained In above referenced, Appendix D and agree that
                     said amounts represent a reasonable relationship between the amount and
                     what might reasonably be expected in the event of Breach, and are a
                     reasonable estimate of the damages that would occur from a Breach. It is
                     hereby agreed between the parties that the Liquidated Damages represent
                     solely the damages and injuries sustained by the State in losing the benefit of
                     the bargain with Contractor and do not include any injury or damage sustained
                     by a third party. The Contractor agrees that the liquidated damage amount is In
                     addition to any amounts Contractor may owe the State pursuant to the
                     indemnity provision or other section of this Contract.

                     For services to be performance on a daily basis, the liquidated damages may be
                     assessed for each day the service was not fully performed. For services to be
                     performed on a less regular basis (e.g. a monthly report), the liquidated
                     damages may be assessed for each time the service was not fully performed.
                     The State may continue to withhold the Liquidated Damages or a portion thereof
                     until the Contractor cures the Breach, the State exercises its option to declare a
                     Partial Default, or the State terminates the Contract. The State is not obligated
                     to assess Liquidated Damages before availing itself of any other remedy. The
                     State may choose to discontinue Liquidated Damages and avail itself of any
                     other remedy available under this Contract or at law or equity; provided,
                     however, Contractor shall receive a credit for said Liquidated Damages
                     previously withheld except In the event of a Partial Default.

               (3)   Partial Default - In the event of a Breach, the State may declare a Partial
                     Default. In which case, the State shall provide the Contractor written notice of:
                     (1) the date which Contractor shall terminate providing the service associated
                     with the Breach; and (2) the date the State will begin to provide the service
                     associated with the Breach. Notwithstanding the foregoing, the State may revise
                     the time periods contained in the notice written to the Contractor.

                     In the event the State declares a Partial Default, the State may withhold,
                     together with any other damages associated with the Breach, from the amounts
                     due the Contractor the greater of: (1) amounts which would be paid the
                     Contractor to provide the defaulted service: or (2) the cost to the State of
                     providing the defaulted service, whether said service is provided by the State or
                     a third party. To determine the amount the Contractor is being paid for any
                     particular service, the Department shall be entitled to receive within five (5) days
                     any requested material from Cc:mtractor. The State shall make the final and
                     binding determination of said amount.

                     The State may assess Liquidated Damages against the Contractor for any
                     failure to perform which ultimately results in a Partial Default with said
                     Liquidated Damages to cease when said Partial Default is effective. Upon
                     Partial Default, the Contractor shall have no right to recover from the State any
                     actual, general, special, incidental, consequential, or any other damages
                     whatsoever of any description or amount. Contractor agrees to cooperate fully
                     with the State in the event a Partial Default is taken.

               (4)   Contract Tennination - In the event of a Breach, the State may terminate the
                     Contract immediately or in stages. The Contractor shall be notified of the             ~
                     termination in writing by the State. Said notice shall hereinafter be referred to as
                     Termination Notice. The Termination Notice may specify either that the
                     tennination is to be effective immediately, on a date certain in the future, or that
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                                                               CCI 000976
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                              the Contractor shall cease operations under this Contract In stages. In the event
                              of a termination; the State may withhold any amounts which may be due
                              Contractor without waiver of any other remedy or damages available to the
                              State at law or at equity. The Contractor shall be liable to the State for any and
                              all damages incurred by the State and any and all expenses incurred by the
                              State which exceed the amount the State would have paid Contractor under this
                              Contract. Contractor agrees to cooperate with the State in the event of a
                              Contract Termination or Partial Takeover.

             b.      State Breach - In the event of a Breach of Contract by the State, the Contractor shall
                     notify the State in writing with in 30 days of any Breach of Contract by the State. Said
                     notice shall contain a description of the Breach. Failure by the Contractor to provide said
                     written notice shall operate as an absolute waiver by the Contractor of the State's
                     Breach. In no event shall any Breach on the part of the State excuse the Contractor from
                     full perfonnance under this Contract. In the event of Breach by the State, the Contractor
                     may avail itself of any remedy at law in the forum with appropriate jurisdiction; provided,
                     however, failure by the Contractor to give the State written notice and opportunity to
                     cure as described herein operates as a waiver of the State's Breach. Failure by the
                     Contractor to file a claim before the appropriate forum in Tennessee with jurisdiction to
                     hear such claim within one (1) year of the written notice of Breach shall operate as a
                     waiver of said claim in its entirety. It is agreed by the parties this provision establishes a
                     contractual period of limitations for any claim brought by the Contractor.

     E.15.   Partial Takeover. The State may, at its convenience and without cause, exercise a partial
             takeover of any service which the Contractor is obligated to perform under this Contract,
             including but not limited to any service which is the subject of a subcontract between Contractor
             and a third party, although the Contractor is not in breach (hereinafter referred to as "Partial
             Takeover"). Said Partial Takeover shall not be deemed a Breach of Contract by the State.
             Contractor shall be given at least 30 days prior written notice of said Partial Takeover with said
             notice to specify the area(s) of service the State will assume and the date of said assumption.
             Any Partial Takeover by the State shall not alter in any way Contractor's other obligations under
             this Contract. The State may withhold from amounts due the Contractor the amount the
             Contractor would have been paid to deliver the service as determined by the State. The amounts
             shall be withheld effective as of the date the State assumes the service. Upon Partial Takeover,
             the Contractor shall have no right to recover from the State any actual, general, special,
             incidental, consequential, or any other damages whatsoever of any description or amount.

     E.16.   Unencumbered Personnel. All persons assigned by the Contractor to perfonn services for the
             State under this Contract, whether they are employees, agents, subcontractors, or principals of
             the Contractor, shall not be subject to any employment contract or restrictive covenant
             provisions which would preclude those persons from performing the same or similar services for
             the State after the tennination of this Contract, either as a State employee, an independent
             contractor, or an employee, agent, subcontractor or principal of another contractor with the
             State. If the Contractor provides the State with the services of any person subject to a restrictive
             covenant or contractual provision in violation of this provision, any such restrictive covenant or
             contractual provision will be void and unenforceable, and the Contractor will pay the State and
             any person involved all of Its expenses, including attorney fees, caused by attempts to enforce
             such provisions.

     E.17    Types of Insurance. The Contractor and/or its management subcontractor shall maintain and
             pay for insurance substantially as described in AITACHMENT E. The State shall be listed as an
             additional insured. Contractor shall revise or supplement the Insurance listed on Appendix E
             and may seek a compensation adjustment pursuant to Section C.11.

     E.18.   Defense/lmmunitv. Notwithstanding any provision contained herein to the contrary, the State
             does not waive any immunity defenses which may exist by operation of law, including, but not
             limited to, limitations on the amount of damages which may be awarded or paid.


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                                                               CCI 000977
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      E.19.   Prohibitions. Notwithstanding any other provision of this Contract to the contrary, nothing
              contained herein shall be interpreted to authorize, allow or imply authority of the Contractor to do
              the following:

              a.      develop or implement procedures for calculating Inmate release and parole eligibility
                      dates;

              b.      develop and implement procedures for calculating and awarding sentence credits;

              c.      approve Inmates for furlough and work release;

              d.      approve the type of work an Inmate may perform, and the wages or sentence credits
                      which may be given to Inmates engaged in such work; and

              e.      grant, deny or revoke sentence credits; place an Inmate under less restrictive custody or
                      more restrictive custody; or take any disciplinary actions; provided, however, that this
                      Section shall not prevent Contractor from making recommendations to the State with
                      respect to any of the above in conformance with Departmental policy. The
                      Commissioner shall determine whether any action or proposed action violates the
                      provisions of this Section.

      E.20.   Contractor's Representations and Warranties. Contractor represents and warrants to and for the
              benefit of State, with the Intent that State will rely thereon for purposes of entering into this
              Contract, as follows:

              a.      Authorization. This Contract has been duly authorized, executed, and delivered by
                      Contractor and, assuming due execution by the appropriate State officials as indicated
                      on the signature page of this Contract and delivery by State, constitutes a legal, valid,
                      and binding agreement enforceable against Contractor in accordance with its terms.

              b.      No Violation of Contract, Articles of Incorporation or Bylaws. The consummation of the
                      transactions contemplated by this Contract and its fulfillment of the terms hereof will not
                      conflict with, or result in a breach of any of the terms and provisions of, or constitute a
                      default under any indenture, mortgage, deed of trust, lease, loan agreement, license,
                      security agreement, Contract, governmental license or permit, or other agreement or
                      instrument to which Contractor is a party or by which its properties are bound, or any
                      order, rule, or regulation of any court or any regulatory body, administrative agency, or
                      their governmental body applicable to Contractor or any of its properties, except any
                      such conflict, breach, or default which would not materially and adversely affect
                      Contractor's ability to perform its obligations under this Contract, and will not conflict
                      with, or result in a breach of any of the terms and provisions of, or constitute a default
                      under, the Articles of Incorporation (or other corresponding charter document) or Bylaws
                      of Contractor.

              c.      No Defaults under Agreements. Contractor is not in default nor is there any event in
                      existence which, with notice or the passage of time or both, would constitute a default by
                      Contractor, under any indenture, mortgage, deed of trust, lease, loan agreement,
                      license, security agreement, Contract, governmental license or permit, or other
                      agreement or instrument to which it is a party or by which any of its properties are bound
                      and which default would materially and adversely affect Contractor's ability to perform its
                      obligations under this Contract.

              d.      Compliance with Laws. Contractor, Its officers and directors purporting to act on behalf
                      of Contractor or such officers and directors have been conducting business in
                      compliance with all applicable laws, rules, and regulations of the jurisdictions in which
                      Contractor is conducting business including all safety laws and laws with respect to
                      worker's compensation, discrimination in hiring, promotion or pay of employees.
                      Contractor warrants that Contractor, and its current and former officers and directors
                      have no convictions regarding criminal activity;
                                                                                                               45




                                                                CCI 000978
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                      (1)     no pending charges regarding criminal activity; or

                      (2)     to their knowledge, no investigations on-going by any state, local or federal
                              authorities regarding any possible criminal activity, except as provided in writing.

              e.      No Litigation. There is not now pending or, to the knowledge of Contractor, threatened,
                      any action, suit, or proceeding to which Contractor is or may be a party, before or by any
                      court or governmental agency or body, which might result in any material adverse
                      change in Contractor's ability to perform its obligations under this Contract, or any such
                      action, suit, or proceeding related to environmental or civil rights matters; and no labor
                      disturbance by the employees of Contractor exists or is imminent which might materially
                      and adversely affect Contractor's ability to perform its obligations under this Contract.

              f.      Disclosure. There is no material fact which materially and adversely affects or in the
                      future will (so far as Contractor can now reasonably foresee) materially and adversely
                      affect Contractor's ability to perform its obligations under this Contract which has not
                      been accurately set forth in this Contract or otherwise accurately disclosed in writing to
                      State by Contractor prior to the date hereof.

              g.      Opinion of Contractor's Counsel. Contractor shall furnish to State an opinion of counsel
                      in connection with this Contract dated as of the date of the Contract. Such opinion shall
                      address the Contractor's compliance with applicable law, affirm its authority to enter into
                      this Contract, indicate that the Contractor is not currently in litigation or have notice of
                      litigation that could cause the Contractor not to perform the terms of this Contract, and
                      affirm the enforceability of this Contract in accordance with its terms.

      E.21.   Binding Nature. This Contract shall not be binding until the State has received evidence of
              insurance required by Section E.17.

      E.22.   Terminology and Definitions. All personal pronouns used in this Contract, whether used in the
              masculine, feminfne, or neutral gender, shall include all other genders; the singular shall include
              the plural and the plural shall include the singular.

      E.23.   Change In Owners. Contractor shall notify the State in writing of any change of ownership of the
              Contractor, through sale or merger, which occurs during the term of the Contract. Contractor
              shall inform the State fully of the financial ability of the new ownership to fully comply with the
              terms and conditions of the Contract. The State reserves the right to terminate the Contract in
              the event of a change in ownership without penalty to the State or to consider the failure to
              comply with the notification or financial reporting provisions as a Breach by the Contractor.

      E.24.   Release. Contractor, upon final payment of the amount due under this Contract, releases the
              State, its officers and employees, from all liabilities, claims and obligations whatsoever arising
              from or under this Contract. Contractor agrees not to purport to bind the State to any obligation
              not expressly assumed herein by the State.

      E.25.   Subcontracting and Assignment.

              The Contractor shall provide that all subcontracts may be assignable to the State at the State's
              sole discretion. Any subcontract shall also provide that the State shall not be responsible for any
              outstanding liability to the subcontractors incurred by the Contractor and that the State may
              terminate such subcontracts upon giving thirty days prior written notice with or without cause.

              Notwithstanding any use of approved subcontractors, the Contractor shall be the State's prime
              contractor and shall be responsible for all work performed.

      E.26.   Research Projects. Contractor shall not publish or disseminate any findings based on data
              obtained from the operation of the Contract or engage in any research projects without the prior
              written consent of the Department.
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                                                                CCI 000979
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      E.27.   Waiver. No consent, waiver or excuse of any Breach of any of the terms or conditions of this
              Contract shall be held to be a consent, waiver, or excuse of any other or subsequent Breach; nor
              shall any such waiver or excuse be valid or binding unless the same shall be in writing and
              approved and executed by the party alleged to have granted the waiver as indicated on the
              signature page of the Contract.

      E.28.   Third Party Beneficiary. Neither the Contractor nor the State intends to create rights for any third
              party by the Contract and no third party beneficiary rights are created hereby. Third parties shall
              mean all persons except the State and the Contractor, including but not limited to employees of
              Contractor, subcontractors of Contractor and Inmates located at the Facility.

      E.29.   Laws. The Contractor shall comply with all applicable federal, state, and local constitutions, laws,
              and regulations, court decisions, Court Orders, and any applicable state and federal orders in
              the performance of the Contract, which may be in effect during the term of this Contract.

      E.30.   Attorney Fees. The Contractor agrees that in the event either party deems it necessary to take
              legal action to enforce any provision of the Contract and in the event the State prevails, the
              Contractor shall pay all expenses of such action, including but not limited to the State's attorney
              fees and costs of all stages of the litigation.

      E.31.   Approvals. Any policies, procedures or other documents contained or referenced in this Contract
              subjec~ to the State's approval under the terms this Contract shall remain subject to State prior
              written approval whenever they are revised, amended, replaced or supplemented. Contractor
              agrees to accept and implement any revisions, alterations or supplements suggested by the
              State to any document, plan, policy or procedure which requires State approval.

      E.32.   Fraud/Misrepresentation. If, in the course of any stage under the term of the Contract, the
              Contractor commits fraud, misrepresentation or conspiracy to defraud the State, the State shall
              have the right to pursue any remedies described in Section E.14, and/or pursue any criminal
              sanctions allowed by law.

      E.33.   Financial Termination. The State may terminate the Contract without penalty to the State in the
              event the Contractor:

              a.        admits in writing its inability to pay its debts:

              b.        makes a general assignment for the benefit of creditors;

              c.        suffers a decree or order appointing a receiver or trustee for it or substantially all of its
                        property to be entered and, if entered without its consent, not to be stayed or discharged
                        within 60 days;

              d.        suffers proceedings under any law relating to bankruptcy, insolvency, or the
                        reorganization or relief of debtors to be instituted by or against it and, if contested by
                        Contractor, not to be dismissed or stayed within 60 days; or

              e.        suffers any judgment, unit of attachment or execution, or any similar process to be
                        issued or levied against a substantial part of its property which is not released, stayed,
                        bonded, or vacated within 60 days after issue or levy.

      E.34.   Set-Off. The State reserves the right to deduct from amounts which are or shall become due and
              payable to the Contractor under this or any Contract between the parties any amounts which are
              or shall become due and payable to the State by the Contractor. The State may withhold any
              amounts which may otherwise be due the Contractor without waiver of any other remedy or
              damages available to the State under this Contract at law or at equity.

      E.35.   Construction. The parties agree that should a dispute arise involving the construction or
              interpretation of this Contract, it shall not be construed or interpreted in favor of either party.
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                                                                CCI 000980
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      E.36.    Written Notices. The necessity of written notices herein shall be strictly construed.

      E.37.    Implied Covenants or Agreements. The State shall be bound only by the express, written terms
               contained herein and shall not be bound by any implied covenants or agreements.

      E.38.    Approvals. Contractor agrees to accept and implement any revisions, alterations or supplements
               suggested by the State to any document, plan, policy or procedure which requires State
               approval.

      E.39.    Notices. Failure of the State to provide any notice to Contractor described in this Contract
               whether or not the State had knowledge of the appropriateness of said notice shall not relieve
               the Contractor of Its obligation to perform in accordance with the Contract and shall not be a
               waiver or excuse of any failure to perform.

      E.40.    No Contingent Fees. No person or entity shall be employed or retained or given anything of
               monetary value on a contingent fee basis to solicit or secure this Contract, except bona fide
               employees of Contractor (including proposed subcontractors) or bona fide established
               commercial or professional entities retained by Contractor for the purpose of securing business.
               For violation of this Section, in addition to the remedies available pursuant to Section E.14., the
               State shall have the right to deduct from any amount owed Contractor the amount of such
               commission, percentage, brokerage or contingent fee, and other benefit from the Contractor.

      E.41 .   Prison Rape Elimination Act (PREA): Contractor will comply with the Prison Rape Elimination
               Act of 2003, 42. U.S.C. 15601 et seq., [PREA] and with all applicable PREA Standards for
               preventing, detecting, monitoring, investigating, and eradicating any form of sexual abuse in the
               performance of the Contract. Contractor acknowledges that, in addition to self-monitoring
               requirements imposed by such laws and standards, the State will conduct announced or
               unannounced compliance monitoring to include on-site monitoring. Failure to comply with PREA
               and PREA Standards may result in termination of the contract.

      E.42     Competitive Procurements. This Contract provides for reimbursement of the cost of goods,
               materials, supplies, equipment, or contracted services. Such procurements shall be made on a
               competitive basis, where practical. The Contractor shall maintain documentation for the basis of
               each procurement for which reimbursement is paid pursuant to this Contract. In each instance
               where it is determined that use of a competitive procurement method was not practical, said
               documentation shall include a written justification, approved by the Commissioner, for such
               decision and non-competitive procurement.

      E.43     HIPAA Compliance. The State and Contractor shalt comply with obligations under the Health
               Insurance Portability and Accountability Act of 1996 (HIPAA) and its accompanying regulations.

               a.     Contractor warrants to the State that it is familiar with the requirements of HIPAA and its
                      accompanying regulations, and will comply with all applicable HIPAA requirements in
                      the course of this Contract.

               b.      Contractor warrants that it will cooperate with the State, including cooperation and
                       coordination with State privacy officials and other compliance officers required by HIPAA
                       and its regulations, in the course of performance of the Contract so that both parties will
                       be in compliance with HIPAA.

               c.     The State and the Contractor will sign documents, including but not limited to business
                      associate agreements, as required by HIPAA and that are reasonably necessary to keep
                      the State and Contractor in compliance with HIPAA. This provision shall not apply if
                      information received by the State under this Contract is NOT "protected health
                      information" as defined by HIPAA, or if HIPAA permits the State to receive such
                      information without entering into a business associate agreement or signing another
                      such document.


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               IN WITNESS WHEREOF,




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              ~                                                  July1,2014
               DER.RICK Q~ SCHOFIELD, COMMISSIONER                    DATE




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                                        LIST OF APPENDICES

      Appendix A.   Description of Real Property

      Appendix B.   Security Addendum

      Appendix C.   TDOC Policies

      Appendix D.   Liquidated Damages Schedule

      Appendix E.   Description of Insurance

      Appendix F.   Prohibition of Illegal Immigrants

      Appendix G.   Ramp Schedule




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                                           Appendix A.


                                         Property Description



      A parcel or tract of land lying in the First Civil District of Trousdale County,
      State of Tennessee, and being more particularly described as follows:

      Commencing at the northwest corner of the Four Lake Regional Industrial
      Development Authority property as of record in Deed Book 72, page 265,
      Register's Office for Trousdale County, Tennessee, said point being an angle
      iron found and having Tennessee State Plane Coordinates of N             =  738,901.68
      feet and E = 1,938,049.05 feet (NAD 83), thence South 51° 23' 44" East,
      4751.08 feet to an iron pin set, said point being the TRUE POINT OF BEGlNNrNO
      and being the northeast corner of the herein described tract, thence South
      04°00'47" East, a distance of 794.56 feet; thence North 84°19'10" Bast, a
      distance of 808.03 feet; thence South 7°32'23 11 East, a distance of 1196.99 feet: South
      38° 24'28"W 215.61 feet; thence South 84°21'19" West, a distance of 1363.05 feet
      to the beginning of a curve to the left having an arc length of 296.46 feet, a radius
      of 825.00 feet and a central angle of 20°35'20" and being subtended by a chord which
      bears S74°03'39"W 294.87 feet; thence South 63°45'58" West tangent to said curve, a
      distance of 81.02 feet to the beginning of a curve to the right having an arc length
      of 399.96 feet, a radius of 875.00 feet and a central angle of 26°11'22" and being
      subtended by a chord which bears 576°5 1'39"W 396.48 feet; thence continuing with a
      curve to the right having an arc length of 151.84 feet, a radius of 150.00 feet and
      a central angle of 57°59'56" and being subtended by a chord which bears N61 °02'42"W
      145.44 feet; thence North 32°02'44" West tangent to said curve, a distance of 561.03
      feet to the beginning of a curve tangent to aaid line; thence with a curve to the right
      having an arc length of 368.26 feet, a radius of 500.00 feet and a central angle of
      42°11'57" and being subtended by a chord which bears Nl0°S6'45"W 359.99 feet;
      thence North 10°09'13" East tangent to said curve, a distance of 1040.72 feet to
      the beginning of a curve tangent to said line; thence with a curve to the right
      having an arc length of 500.42 feet, a radius of 775.00 feet and a central angle of
      36°59'47" and being subtended by a chord which bears N28°39'07"E 491.78 feet;
      thence North 47°09'00" East tangent to said curve, a distance of 21.38 feet to the
      beginning of a curve tangent to said line; thence with a curve to the right having an
      arc length of 132.84 feet, a radius of 85.00 feet and a central angle of 89°32'40" and
      being subtended by a chord which bears S88°04'40"E 119.73 feet; thence with a curve
      to the )eft having an arc length of 766.44 feet, a radius of 630.00 feel and a central
      angle of 69°42'15" and being subtended by a chord which bears S78°09'27"E
      720.04 feet; thence North 66°59'25 11 East tangent to said curve, a distance of
      488.83 feet to the Point of Beginning and containing 4,683,964 square feet or
      107.53 Acres, more or less.

      Being a portion of the property acquired by Four Lake Regional Industrial
      Development Authority from the United States Of America, Tennessee Valley



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                                                                CCI 000984
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       Authority by Special Warranty and Quit Claim deed of record in Deed Book
       72, page 265, Register's Office for Trousdale County, Tenneasee




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                                                                CCI 000985
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                                             Appendix B.



                                 FEDERAL BUREAU OF INVESTIGATION
                             CRIMINAL JUSTICE INFORMATION SERVICES
                                         SECURITY ADDENDUM


               The goal of this document is to augment the CJIS Security Policy to ensure adequate
       security is provided for criminal justice systems while (1) under the control or management of
       a private entity or (2) connectivity to FBI CJIS Systems has been provided to a private entity
       (contractor). Adequate security is defined in Office of Management and Budget Circular A-
       130 as "security commensurate with the risk and magnitude of harm resulting from the loss,
       misuse, or unauthorized access to or modification of information."
               The intent of this Security Addendum is to require that the Contractor maintain a
       security program consistent with federal and state laws, regulations, and standards (including
       the CJIS Security Policy in effect when the contract is executed), as well as with policies and
       standards established by the Criminal Justice Information Services (CJIS) Advisory Policy
       Board (APB).
               This Security Addendum identifies the duties and responsibilities with respect to the
       installation and maintenance of adequate internal controls within the contractual relationship
       so that the security and integrity of the FBI's information resources are not compromised. The
       security program shall include consideration of personnel security, site security, system
       security, and data security, and technical security.
              The provisions of this Security Addendum apply to all personnel, systems, networks
       and support facilities supporting and/or acting on behalf of the government agency.
       1.00    Definitions
       1.01 Contracting Government Agency (CGA) -the government agency, whether a Criminal
       Justice Agency or a Noncriminal Justice Agency, which enters into an agreement with a
       private contractor subject to this Security Addendum.
       1.02 Contractor - a private business, organization or individual which has entered into an
       agreement for the administration of criminal justice with a Criminal Justice Agency or a
       Noncriminal Justice Agency.
       2.00    Responsibilities ofthe Contracting Government Agency.
       2.01 The CGA will ensure that each Contractor employee receives a copy of the Security
       Addendum and the CJIS Security Policy and executes an acknowledgment of such receipt and
       the contents of the Security Addendum. The signed acknowledgments shall remain in the
       possession of the CGA and available for audit purposes. The acknowledgement may be
       signed by hand or via digital signature (see glossary for definition of digital signature).
       3.00    Responsibilities ofthe Contractor.
       3.01 The Contractor will maintain a security program consistent with federal and state laws,
       regulations, and standards (including the CJIS Security Policy in effect when the contract is
       executed and all subsequent versions), as weii as with policies and standards established by
       the Criminal Justice Information Services (CJIS) Advisory Policy Board (APB).
       4.00    Security Violations.

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        4.01 The CGA must report security violations to the CJIS Systems Officer (CSO) and the
        Director, FBI, along with indications of actions taken by the CGA and Contractor.
        4.02   Security violations can justify termination of the appended agreement.
        4.03   Upon notification, the FBI reserves the right to:
               a. Investigate or decline to investigate any report of unauthorized use;
               b. Suspend or terminate access and services, including telecommunications links.
                  The FBI will provide the CSO with timely written notice of the suspension.
                  Access and services will be reinstated only after satisfactory assurances have been
                  provided to the FBI by the CJA and Contractor. Upon termination, the
                  Contractor's records containing CHRI must be deleted or returned to the CGA.
        5.00   Audit
        5.01 The FBI is authorized to perform a final audit of the Contractor's systems after
        termination of the Security Addendum.
        6.00   Scope and Authority
        6.01 This Security Addendum does not confer, grant, or authorize any rights, privileges, or
        obligations on any persons other than the Contractor, CGA, CJA (where applicable), CSA,
        and FBI.
        6.02 The following documents are incorporated by reference and made part of this
        agreement: (I) the Security Addendum; (2) the NCJC 2000 Operating Manual; (3) the CJIS
        Security Policy; and (4) Title 28, Code of Federal Regulations, Part 20. The parties are also
        subject to applicable federal and state laws and regulations.
        6.03 The terms set forth in this document do not constitute the sole understanding by and
        between the parties hereto; rather they augment the provisions of the CJIS Security Policy to
        provide a minimum basis for the security of the system and contained information and it is
        understood that there may be terms and conditions of the appended Agreement which impose
        more stringent re4uirements upon the Contractor.
        6.04 This Security Addendum may only be modified by the FBI, and may not be modified
        by the parties to the appended Agreement without the consent of the FBI.
       6.05    All notices and correspondence shall be forwarded by First Class mail to:


       Assistant Director
       Criminal Justice Information Services Division, FBI
        1000 Custer Hollow Road
       Clarksburg, West Virginia 26306




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                                 FEDERAL BUREAU OF INVESTIGATION
                           CRIMINAL JUSTICE INFORMATION SERVICES
                                        SECURITY ADDENDUM


       CERTIFICATION


               I hereby certify that I am familiar with the contents of (1) the Security Addendum,
       including its legal authority and purpose; (2) the NCIC Operating Manual; (3) the CJIS
       Security Policy; and (4) Title 28, Code of Federal Regulations, Part 20, and agree to be bound
       by their provisions.
               I recognize that criminal history record information and related data, by its very
       nature, is sensitive and has potential for great harm if misused. I acknowledge that access to
       criminal history record information and related data is therefore limited to the purpose(s) for
       which a government agency has entered into the contract incorporating this Security
       Addendum. I understand that misuse of the system by, among other things: accessing it
       without authorization; accessing it by exceeding authorization; accessing it for an improper
       purpose; using, disseminating or re-disseminating information received as a result of this
       contract for a purpose other than that envisioned by the contract, may subject me to
       administrative and criminal penalties. I understand tl1at accessing the system for an
       appropriate purpose and then using, disseminating or re-disseminating the information
       received for another purpose other than execution of the contract also constitutes misuse. I
       further understand that the occurrence of misuse does not depend upon whether or not I
       receive additional compensation for such authorized activity. Such exposure for misuse
       includes, but is not limited to, suspension or loss of employment and prosecution for state and
       federal crimes.




       Printed Name/Signature of Contractor Employee                              Date




       Printed Name/Signature of Contractor Representative                        Date




       Organization and Title of Contractor Representative




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                                                                CCI 000988
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                                   CURRENT APPLICABLE TDOC POLICIES
                                                  for
                                         TROUSDALE COUNTY
                                             Aprll3, 2014

 £Q!jg      Policy Title                                                  Effective Date   CCA Cha~ter #
 Numbe(

 100.00     PCN 14-13                                                         4/1/14

 101.04.1   Policies and Procedures Distribution/Inmate Access                3/1/14         1
 101.06     Policy and Procedure Exemptions                                   3/1/14         1
 103.01     Quarterly Reports                                                 8/15/11        1

 103.02     Incident Reporting                                                1/15/14        5

 103.03     Open Parole Hearings                                              2/15/12        21

 103.04     Provision of Information and Access to the Media and Public       1/1/13         1

 103.05     Inmate Emergency Notification                                     5/1/12         5
 103.07     Annual Inspections                                                10/1/12        1
 103.10     Title VI-Civil Rights Act of 1964                                 10/1/12        1
            PCN 13-37                                                         9/15/13

 103.11     Notification to Victim/Member of the Public                       9/1/13         1
            and Confidentiality of Information

 103.11.1   Victim-Offender Dialogue Program                                  5/15/10        1

 103.12     Documentation of Significant Offender Related Contacts            3/1/11         1

 103.13     Administration of Victim Services                                 8/1/10
            PCN 10-31                                                         11/1/10

 103.14     Victim Impact Program                                             11/1/10        1

 103.15     Central Communication Center                                      01/15/14

 105.03     Diplomatic Access for Foreign National Inmates                    11/1/10        14

 107.01     Investigations Unit Authority, Responsibility, Personnel-
            Selection and Training                                            12/1/12        1
            PCN 13-22                                                         5/1/13
 107.02     lnvesti~ations   Unit Operational Procedures                      12/1/12        1
            PCN 1 -23                                                         5/1/13
 107.03     Institutional Internal Affairs Investigators, Selection,
            and Responsibilities                                              12/1/12        1
 107.04     Office of Investigations and Compliance                           12/1/12        1
 108.01     Facili7 Construction, Renovation, & Physical Plant Maintenance 4/15/13           7
            PCN 3-33                                                       8/15/13
 108.02     Design and Construction of Prison Facilities                      8/15/12        7
 108.03     Building and Safety Codes                                         10/1/12        7
 109.04     Restriction of TOM IS and State Network Access by Offenders       10/15/07       1
 109.05     Acceptable Use Network Resources                                  12/1/06        1
            PCN 11-12                                                         5/1/11




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 110.08    Level of Service/Case Management Inventory Training          6/15/10    18
 112.02    Self Contained and Emergency Response Breathing Apparatus 5/1/11        8
 112.03    Occupational Health and Safety                               10/1/13    8
 112.04    Fire and Emergency Evacuation Plan                           11/1/11    8
           PCN 13-55                                                    3/11/13
 112.05    Monitor!~ and Conducting Fire Prevention and                 11/1/11    8
           Building onstruction Safety Inspections
 112.08    Personal Hygiene Resources for Inmates                       3/1/11     13
           PCN 13-8                                                     4/15/13
 112.09    Control and Use of Flammable, Toxic, and Caustic Materials   4/1/14     8
 112.11    Smoke-Free Policy (TDOC Institutions and Academy)            1/15/10    8
           PCN 12-3                                                     1/1/12
           PCN 11-1                                                     2/1/11
 113.01    Health Services Administration                               3/1/12     13
 113.02    Health Care Facilities, Equipment, and Supplies              8/15/11    13
 113.03    Health Services Disaster Procedures Plan                     10/15/11   13
 113.04    Medical Requirements for the Release/Transfer of Inmates     3/1/12     13
 113.05    Death and Autopsies                                          6/1/12     13
           PCN 13-39                                                    10/15/13
 113.08    Prosthetics and Durable Medical Equipment                    11/1/10    13
           PCN 11-38                                                    11/1/11
 113.09    Health Services Quality Improvement                          8/15/12    13
           PCN 13-45                                                    11/15/13
 113.10    Credentials of Health Care Personnel                         11/1/10    13
 113.11    Clinical and Nursing Protocols                               11/1/11    13
 113.12    S~ecialty
                   Consultant Services                                  7/15/11    13
           P N 11-39                                                    11/1/11
 113.13    Employee Health Care                                         12/15/13   13
 113.14    Inmate Workers in Health Care                                8/15/11    13
 113.15    Inmate Co-payment of Health Services                         6/1/11     13
 113.20    Intake Physical Examination                                  8/1/10     13
           PCN 12-14                                                    8/15/12
 113.21    Health Classification                                        4/1/10     13
 113.22    Health Orientation                                           111/12     13
 113.23    Initial Health Screening and Evaluation                      5/15/11    13
 113.24    Inmates Assigned to Jobs In Food Services                    7/15/11    13
 113.30    Access to Health Care                                        6/15/11    13
 113.31    Sick Call/Assessment of Health Complaints                    2/15/14    13
 113.32    Levels of Care                                               2/1/11     13
 113.34    Extended Health Services                                     9/15/12    13
 113.33    Telehealth                                                   12/1/12    13
 113.35    Theraf:eutic Diets                                           12/1/11    13
           PCN 3-28                                                     6/1/13
 113.36    Hunger Strike                                                11/1/11    13
 113.40    Health Education                                             6/1/13     13
 113.41    Periodic Health Appraisal                                    5/1/11     13




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 113.42     Communicable Diseases                                       11/1/10    13
            PCN 11-41                                                   11/1/11
 113.43     Immunizations: Inmate Population                            5/1/13     13
 113.44     Tuberculosis (TB) Control                                   6/15/11    13
 113.45     AIDS: Education, Prevention and Case Management             6/1/12     13
 113.50     Health Records                                              2/1/11     13
 113.51     Consent/Refusal of Treatment                                10/1/12    13
 113.52     Release of Protected Health Information                     8/15/11    13
 113.53     Accident/Injury Reporting                                   10/15/11   13
 113.54     Health Statistics Collection and Reporting                  6/1/12     13
 113.60     Dental Services Administration                              2/1/12     13
 113.62     Dental Specialties                                          1/1/12     13
 113.70     Mana~ement       of Pharmaceuticals                         8/15/11    13
            PCN 2-7                                                     3/1/12
            PCN 11-43                                                   11/1/11
 113.71     Administration/Distribution of Medication                   8/15/11    13
            PCN 11-44                                                   11/1/11
 113.72     Mana~ement       of Hazardous Medical Devices               6/1/13     13
            PCN 4·2                                                     2/15/14
 113.78     Radiology Services                                          12/1/11    13
 113.80     Mental Health Services Administration and Delivery          10/1/12    13
 113.81     Mental Health Documentation                                 8/1/10     13
 113.81.1   Mental Health Statistics and Reports                        9/15/12    13
 113.82     Mental Health Referral Triage Process                       9/15/12    13
 113.82.1   Transition for Offenders with Mental Illness                3/1/09     13
            PCN 12-12                                                   8/15/12
            P~N 10-~1                                                   7/1/10
 113.83     Mental Health Evaluation and Mental Health Treatment Plan   12/1/11    13
            PCN 13-47                                                   1/15/14
 113.84     Clinical Assessments, Mental Health Appraisals,             3/15/12    13
            and Psychological Testing
 113.85     Mental Health Treatment Team                                6/1/12     13
 113.87     Mental Health Levels of Care                                9/15/12
 113.88     Mental Health Seclusion and Suicide Monitoring              7/15/11    13
 113.89     Psychotropic Medication/Involuntary Treatment               8/15/11    13
 113.92     DNA S~ecimen Collection and Documentation                   10/15/12   13
            PCN 1 -46                                                   12/15/13
 113.93     Detoxification                                              2/15/14    13
 113.94     Health Care Personnel and Medical Drug Screening            4/1/14     13
 114.02     Research Projects                                           6/1/13     5
 115.01     Standards for Volunteers and Coordination of Community      6/1/12     22
            Involvement
            PCN 13-21                                                   4/15/13
 117.01     Administrative Guidelines/Educational Programs              3/15/13    20
 117.02     Academic Programs                                           3/1/14     20
 117.03     Vocational Programs                                         6/1/13     20




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 117.04     Career Management for Success and Release for             8/1/11     21
            Success Programs
            PCN 12-16                                                 8/15/12
 117.05     Title One Programs                                        12/15/13   20
 117.06     Inmate AcademicNocational Education Records               3/1/11     20
            PCN11-47                                                  11/15/11
 117.07     Special Education Programs                                5/1/11     20
 118.01     Religious Programs                                        2/15/14    20
            Religious Property Memo                                   5/11/11
 200.00     PCN 14-14                                                 4/1/14
 202.05     Notary Commissions                                        8/15/12    14
 205.02     Contract Monitoring                                       6/15/11    1
 206.01     State Personal Property                                   10/15/13   2
 208.01     Trust Fund Accounts                                       3/15/14    2
 208.03     Collection of Taxes and Other Amounts Owed by Offenders   10/1/11    2
 208.06     Money Found on Inmates and/or Institution                 4/1/13     2
 208.07     Reclaiming Confiscated Currency                           1/1/12     2
 208.08     Inmate Telephone Debit System                             12/15/12   2
 208.09     Arts and Crafts Sales                                     2/15/14    2
 208.10     Voluntary Participation and AWeement
            with Wage Deductions- PIE rogram                          3/1/14     19
 216.01     Tennessee Public Records Act and Reproduction of Public   11/1/12
            Records
 301.04     Job Re~uirements                                          6/1/13     3
            PCN 13-30                                                 7/1/13
 305.03     Em~loY-ee/Offender    Interaction                         5/1/11     3
            PC    13-11                                               4/15/13
 401.01     PCN 14-16                                                 4/1/14
 401.01     Classification Programs Administration                    4/1/14     18
 401.02     Receiving and Receipting of Inmates                       4/1/14     17
 401.03     Organization of the Classification Committee              4/1/14     18
 401.04     Initial Classification Process                            4/1/14     18
 401.06     Custod{. Overrides                                        11/15/09   18
            PCN 1 -19                                                 7/1/11
 401.08     Classification Hearing Process                            9/1/10     18
 403.01     Institutional Transfers                                   6/1/10     18
            PCN 12-23                                                 10/1/12
 403.01.1   Transfer of Records                                       9/1/10     6
 403.02     Central Transportation System                             7/15/11    9
 403.03     Interstate Transportation                                 3/1/12     9
 403.05     Population Reporting                                      8/15/07    6
            PCN 11-18                                                 7/1/11
 404.05     Orientation Program                                       9/15/08    17
 404.07     Minimum Custody Placement                                 8/15/11    18
 404.07.1   Notification to Committing Jurisdictions                  9/15/08    18
 404.09     Protective Services                                       3/15/14    10




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 404.10     Administrative Segregation, Placement and Release               811/10     10
 500.00     PCN 14-17                                                       4/1/14
 501 .01    Inmate Grievance Procedures                                     10/1/12    14
            PCN 13-38                                                       9/15/13
            PCN 13-10                                                       4/15/13
            INMATE GRIEVANCE HANDBOOK                                       4/2013
 502 .01    Uniform Disciplinary Procedures                                 12/1/10    15
            PCN 12-9                                                        611/12
 502.02     Disciplinary Punishment Guidelines                              6/1/12     15
 502.04     Rule Books for Inmates                                          5/1/10     14
            PCN 11·22                                                       8/1/11
 502.05     Definitions of Disciplinary Offenses                            3/15/14    15
 502.06     Prison Rap,e Elimination Act (PREA) Implementation
            and Colll.ftllance                                              4/15/13    14
            PCN 14- 0                                                       4/1/14
 502.06.1   Prison Rape Elimination Act (PREA) Screening, Classification,
            Education, and Monitoring                                       4/15/13    14
            PCN 14-7                                                        4/1/14
            PCN 13-35                                                       8/15/13
 502.06.2   Prison R~e Elimination Act (PREA) Allegations, Investigations,
            and SAR Teams                                                  5/1/13      14
            PCN 14-8                                                       4/1/14
 502.06.3   Medical, Mental HealthRVictim Advocacy, and Community
            Su~ort Services for P EA Victims                                10/1/13    14
            PC 14·9                                                         4/1/14
 503.04     Inmate Councils                                                 1/1/12
 503.07     Inmate Marriages                                                2/15114    14
 503.08     Telephone Privileges                                            4/1/14     16
 503.11     Motor Vehicle Operation by Inmates                              11/15/12   19
 504.01     Inmate Personal Property                                        1211/13    17
            Inmate Personal Property Memo                                   12/1/13
 504.02     Inmate Personal Property Accounting System                      12/1/13    17
 504.04     Inmate Pay                                                      10/1113    19
 504.05     Inmate Clothing                                                 1/15111    17
            PCN 13-1                                                        1/1/13
 505.01     Sentence Credits                                                6/1/10     18
 505.07     Inmate Programming (Jobs/Classes/Treatment)                     5/1/10     19
            PCN 12-11                                                       7/15112
            PCN 11-32                                                       B/15/11
 505.08     Community Service Work Projects                                 3/15/12    19
 505.09     Coortilnatlon and Ceoreration Between                           1/15/11    20
            TDOC and TR ICOR a the Facility Level
            (SCCC Is req uired to follow this policy)
 505.10     Work Release Job Placement                                      6/1/11     18
 506.01     Custody and Security levels                                     1/1/12     18
 506.06     Searches                                                        2/15/14    9
 506.07     Use of Restraint Devices                                        7/15/11    9
            PCN 12-10                                                       7115/12
            PCN 11-45                                                       1111/11
 506.07.1   Use of Chemical Agents                                          5/15/13    9
 506.07.2   Statewide Tactical Programs                                     411/14     4
 506.07.5   Use of Specialty Impact WeaponsiMunitions                       10115/09   9




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 506.08     Use of Force/Use of Weapons for Deadly Force                  6/1/13     9
            PCN 13-42                                                     11/15/13
 506.10     Escorted Emergency Visits                                     10/1/11    9
 506.11     Population Count                                              6/1/12     9
            PCN 12-25                                                     11/1112
 506.12     Escapes                                                       4/1/10     8
 506.13     Identification of Inmates                                     12/15/13   17
 506.14     Housi'W Assignments                                           7/15/12    17
            PCN 1 -12                                                     4/15/13
 506.14.2   Housin~ and Programming of Youthful Offenders                 10/1/11    17
            PCN 1 -14                                                     4/15/13
 506.15     Dis~osition of Contraband                                     2/15/12    9
            PC    12-13                                                   8/15/12
 506.16     Living Conditions for Segregated Inmates                      2/15/10    10
            PCN 13-15                                                     4/15/13
 506.20     Emergency Operations Plans                                    4/1/14     6
 506.21     Inmate Drug/Alcohol Testing and Sanctions                     8/15/12    9
            PCN13-44                                                      11/15113
 506.25     Security Threat Group Intelligence                            2/1/11     9
 506.26     Security Threat Group Program Identification, Placement,      311/08     9
            and Operation
 506.26.1   Security Management Unit Operations                           5/1/13     9
 506.27     Correctional Intelligence Initiative                          7/15/11    9
 506.28     Commissioner Security Alert                                   3/1/11     5
 507.01     Visitation                                                    4/1/14     16
 507.01.1   Non-Contact Visitation                                        7/15/11    16
 507.02     Inmate Mail                                                   6/1/12     16
 508.01     Social Service Programs                                       11/1/10    20
            PCN 11-15                                                     6/15/11
 508.04     Counseling Services                                           9/15/13    20
            PCN13-4                                                       10/1/13
 510.01     Recreation Programs                                           6/1/11     20
 510.02     Arts & Crafts Program & the Purchase Of                       7/15/11    20
            Arts & Crafts ltemsNocational Services
 511.01     Furloughs                                                     7/15/11    21
 511.01.1   Medical Furloughs                                             5/15/13    21
 511.03     Release Procedures                                            3/15/14    21
 511.04     Coordination/Cooperation with Board of Probation and Parole   3/15/14    21
 511.05     Identification for Post Release                               1/1113     21
 512.01     Inmate Institutional Records                                  3/1/12     6
            PCN 13-9                                                      4/15/13
 512.02     Sex Offender Registry                                         2115/14
 513.02     Transition Center Programming                                 8/15/12    18
            PCN 13-31                                                     8/1/13
 513.04     Transitional Assessment Plan (TAP)                            2/1/10     18
 513.04.1   Transition Assessment Plan - Behavioral Intervention Goals    5/1/11     18
            (TAP-BIG)
 513.05     Inmate Monitoring                                             11/15/09   18




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 513.06     Level of Service/Case Management Inventory
            Quality Assurance                                          3/1/11    18
            PCN 13-32                                                  8/15/13
 513.07     Substance Use Disorder Programming and Services Delivery   2/15/14   18




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                                                        Appendix D.




                                        Appendix E        Liquidated Damages Schedule
              Liquidated damages will be calculated In accordance with the following formula:
                                                        V x B x $250.00 where
                  V   =Relative value of Service Area                             B "' Relative value of the Breach
              Service Area 1 -Value   =5:     lnmat$ Classltlcatlon, Custody and Movement, Access to Courts,
                                              Disciplinary Procadures, Inmate Relation&, Sentence Reduction Credits,
                                              Sentence Computation, Inmate Records:
                                                             - - ------.
                                       ---------Contractor Breach:
                                                             -----------~-
                                                                                        B
                                            Failure to Staff                            5
                                            Failure to Document                         4
                                            Failure to Report                           3
                                            Failure to Comply with Other
                                               ApPII:!_ble Standards _ __               5

              SeNlce Area 2 - Value   =4:     General Administration, Personnel and Training, Security and Control,
                                              Use of Force, Health/Medical/Mental Health/Dental, Inmate Work and
                                              Education, Transportation, Inmate Orug Testing:

                                                    Oontmctot   B t Qoch ~              B
                                            Failure to Staff                            5
                                            Failure to Oooument                         3
                                            Failure to Report                           2
                                            Failure to Comply with Other
                                               Applicable Standards                     5

              Service Area 3 ~ Value = 3: Equipment, Supplies and Perishables, Sanitation and Hyglantt, Facility
                                          Management, Maintenance, and Utilities:

                                                    ContrMt~,r~r~ - - - -1-- B-..
                                         Failure to Staff                              4
                                         Failure to Document                           2
                                         FaUure to Report                              1
                                         Failure to Comply with Other
                                            Applicable Standards                       4

              Service Area 4 -Value "' 2: Per&onal Property, V!slta11on, Food Service, Laundry and Clothing,
                                          Recreation, Library, Commissary, Rallglou$ Servl08s, Volunteer
                                          Services, Rele<~s ed lnmateR, Telephone and Correspondence, Inmate
                                          Trusl Fund, Community Relations, and other requirements or the
                                          Standaros:

                                                    Con\raotor Bt!!:h;                 B
                                         Failure to Staff                  4
                                         Fallura to Documenl               1
                                         Failure to Report                 1
                                         Failure to Comply with Other
                                            Applicable Standards           4
                                                               --------~----~




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                                                                                            Appendix E.

                                                                                                                                   RFS 32904·20213
                                                                                                                                   ATTACHMENT FOUR
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      ACOR.
           ~                             CERTIFICATE OF LIABILITY INSURANCE hu•
           THIB CERTIFIC~E I8186UED A8 A MAnER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLllER. THta
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           CERTIFICATE D, 1!8 NOT .AFARMATlVELV OR NEG~TIVELV AMEND, EXTEND ORALTER THE COVERAGE AFFORDED BY THE POIJCIES
           BELOW. TliiS CeRTIFICATE OF INSURANCE DOE9 NOT CONSTITUTE A CONTRACT BETWEEN TH& 188UING INBURER(S), AllllfDRIZEb
           REPRESENTATI E OR PRODUCER, AND"OiE CERTIFICATE HOLDER.

           IMPORTANT: If ~hi c.nmcat. holdtr Ia en ADDmONAL INSURED,ltll pallcy(IM)mual be endoteld. If SUBROGATION IS WAIVED, aubjoct lO
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